
IN RE: Morgan, Harry; — Defendant(s); Applying for Supervisory and/or Remedial Writ; to the Court of Appeal, Fourth Circuit, Number 96KA-1948; Parish of Orleans Criminal District Court Div. “G” Number 369-301
Writ granted in part; otherwise denied; case remanded to the district court. The district court is ordered to appoint counsel for relator for purposes of conducting an evidentiary hearing at which it will determine whether relator was wearing identifiable prison garb at trial, and if so, whether his trial attorney’s failure to raise the issue at trial constituted ineffective assistance of counsel under the standard set out in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). In all other respects, the application is denied.
JOHNSON, J. not on panel.
